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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.1.1
                                Eastern Division

Vanessa Popp
                                                    Plaintiff,
v.                                                               Case No.: 1:16−cv−04331
                                                                 Honorable John J. Tharp Jr.
VHS West Suburban Medical Center, Inc., et al.
                                                    Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, July 21, 2016:


         MINUTE entry before the Honorable Mary M. Rowland: The parties have filed a
joint stipulation of dismissal without prejudice with the District Judge. Accordingly, the
discovery status hearing previously set for 08/23/16 at 9:00 a.m. is hereby stricken. All
matters relating to the referral of this action having been concluded, the referral is closed
and the case is returned to the assigned judge. Honorable Judge Mary M. Rowland no
longer referred to the case. Mailed notice. (dm, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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refer to it for additional information.

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